                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )            NO. 3:13-00051
                                                  )            JUDGE SHARP
JOSHUA THOMAS SLIZOSKI                            )



                                             ORDER

         Pending before the Court is Defendant’s late filed Motion for All Parties to Participate in

Status Conference Via Telephone and Request for Waiver of Appearance of Defendant Slizoski

(Docket No.65).

         First and foremost, the Court is troubled that 1) counsel filed a motion on behalf of all

parties without seeking input from the other attorneys in the case, 2) although the status

conference has been set for a week, counsel waited until the last minute to file the pending

motion, and 3) counsel apparently filed this motion seeking to participate by telephone after she

had already left town putting the court in the position of either granting the motion or continuing

the hearing at the significant inconvenience to the other lawyers and parties in the case.

         Nevertheless, the motion is GRANTED in part. Defendant Slizoski and Counsel shall

appear by telephone at the status conference scheduled for July 24, 2013, at 1:30 p.m. by calling

615-695-2852. All other parties shall appear in person.

         It is so ORDERED.



                                               KEVIN H. SHARP
                                               UNITED STATES DISTRICT JUDGE




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